Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 1 of 6 PageID #: 1891




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 FINESSE WIRELESS, LLC         §
                               §
                Plaintiff,     §
 v.                            §                            CASE NO. 2:21-CV-00316-JRG
                               §                             (LEAD CASE)
 AT&T MOBILITY, LLC,           §
                               §
             Defendant.        §
                               §
                               §
 FINESSE WIRELESS, LLC,        §
                               §
                Plaintiff,     §
 v.                            §
 CELLCO PARTNERSHIP d/b/a      §
 VERIZON WIRELESS,             §                            CASE NO. 2:21-CV-00317-JRG
                               §                             (MEMBER CASE)
                               §
                Defendants,    §
                               §
 NOKIA OF AMERICA CORPORATION, §
 ERICSSON INC.,                §
                               §
                Intervenors.

                          AMENDED DOCKET CONTROL ORDER

       Before the Court is the Joint Motion to Amend the Docket Control Order (the “Motion”).

(Dkt. No. 104.) Having considered the Motion, and noting its joint nature, the Court finds that it

should be and hereby is GRANTED as modified. Accordingly, it is ORDERED that the following

schedule of deadlines is in effect until further notice of the Court:
Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 2 of 6 PageID #: 1892




       Original        Amended         Description
       Deadline        Deadline

    January 2, 2023                    *Jury Selection — 9:00 a.m. in Marshall, Texas




     December 5,                       * If a juror questionnaire is to be used, an editable (in
        2022                           Microsoft Word format) questionnaire shall be jointly
                                       submitted to the Deputy Clerk in Charge by this date. 1

    November 28,                       *Pretrial Conference — 9:00 a.m. in Marshall, Texas
       2022                            before Judge Rodney Gilstrap

    November 21,                       *Notify Court of Agreements Reached During Meet
       2022                            and Confer
                                       The parties are ordered to meet and confer on any
                                       outstanding objections or motions in limine. The
                                       parties shall advise the Court of any agreements
                                       reached no later than 1:00 p.m. three (3) business days
                                       before the pretrial conference.

    November 21,                       *File Joint Pretrial Order, Joint Proposed Jury
       2022                            Instructions, Joint Proposed Verdict Form, Responses
                                       to Motions in Limine, Updated Exhibit Lists, Updated
                                       Witness Lists, and Updated Deposition Designations

    November 14,                       *File Notice of Request for Daily Transcript or Real
       2022                            Time Reporting.
                                       If a daily transcript or real time reporting of court
                                       proceedings is requested for trial, the party or parties
                                       making said request shall file a notice with the Court.




1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.



                                               2
Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 3 of 6 PageID #: 1893




      Original          Amended          Description
      Deadline          Deadline

    November 7,                          File Motions in Limine
       2022                              The parties shall limit their motions in limine to issues
                                         that if improperly introduced at trial would be so
                                         prejudicial that the Court could not alleviate the
                                         prejudice by giving appropriate instructions to the jury.

    November 7,                          Serve Objections to Rebuttal Pretrial Disclosures
       2022

     October 31,                         Serve Objections to Pretrial Disclosures; and Serve
        2022                             Rebuttal Pretrial Disclosures

     October 17,                         Serve Pretrial Disclosures (Witness List, Deposition
        2022                             Designations, and Exhibit List) by the Party with the
                                         Burden of Proof

     October 11,     October 17, 2022    *Response to Dispositive Motions (including Daubert
        2022                             Motions). Responses to dispositive motions that were
                                         filed prior to the dispositive motion deadline, including
                                         Daubert Motions, shall be due in accordance with
                                         Local Rule CV-7(e), not to exceed the deadline as set
                                         forth in this Docket Control Order. 2 Motions for
                                         Summary Judgment shall comply with Local Rule CV-
                                         56.

    September 26,    October 10, 2022    *File Motions to Strike Expert Testimony (including
        2022                             Daubert Motions)
                                         No motion to strike expert testimony (including a
                                         Daubert motion) may be filed after this date without
                                         leave of the Court.




2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



                                                 3
Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 4 of 6 PageID #: 1894




    Original            Amended          Description
    Deadline            Deadline

  September 26,       September 30,      *File Dispositive Motions
      2022                2022           No dispositive motion may be filed after this date
                                         without leave of the Court.
                                         Motions shall comply with Local Rule CV-56 and
                                         Local Rule CV-7. Motions to extend page limits will
                                         only be granted in exceptional circumstances.
                                         Exceptional circumstances require more than agreement
                                         among the parties.

  September 22,       September 28,      Deadline to Complete Expert Discovery
      2022                2022

  September 13,       September 16,      Serve Disclosures for Rebuttal Expert Witnesses
      2022                2022

    August 15,                           Deadline to Complete Fact Discovery and File Motions
      2022                               to Compel Discovery, except certain depositions of fact
                                         witnesses taken out of time by agreement of the parties,
                                         in which event the deadline for Plaintiff to file any
                                         motions to compel arising solely out of such fact
                                         depositions shall be 3 business days after the deposition

    August 19,       August 23, 2022     Serve Disclosures for Expert Witnesses by the Party
      2022                               with the Burden of Proof

    August 17,                           Defendants to narrow theories to 7 invalidity theories
      2022                               per claim, with a theory being a unique combination of
                                         obviousness references or one anticipation theory (For
                                         the avoidance of doubt, theories under 35 U.S.C. §§
                                         101 & 112 are not subject to this narrowing)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable




                                                4
Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 5 of 6 PageID #: 1895




mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubed
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”




                                                  5
Case 2:21-cv-00316-JRG Document 106 Filed 08/17/22 Page 6 of 6 PageID #: 1896


  .

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

      So ORDERED and SIGNED this 17th day of August, 2022.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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